 

a verre aeamnemnenn aceasta haha

 

, Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Pagel of 61

Fill in this information to identify your case:

 

 

 

United States Bankruptcy Court for the:

District of

Chapter you are filing under:

 

 

(I Chapter 7
C) Chapter 14
() Chapter 12
Q) Chapter 13

Official Form 101 | 9 - 1 8 6 3 0 JGR

Voluntary Petition for Individuals Filing for Bankruptcy 12/47

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

 

 

 

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

[Part 4 | Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your "\ ‘ C ‘
government-issued picture _ OR 14 Lf ath La
identification (for example, Firstname First na
your driver's license or Fels pe Aan
passport). Middle name * Middle name
Bring your picture More ue Lh. E Ss pin Oo la,
identification to your meeting —_ Last name 0 Last name
with the trustee.
Suffix (Sr. Jr, fl, IN) Suffix (Sr., Jr, Ih MI)
| e
2. All other names you C an +h La,
have used in the last 8 First name First name’
years
Include your married or Middie name Middle name "
maiden names. Arla
Last name Last name
First name First name
Middie name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security XXX XK — FZ hb om gk XXX XX — Lf x oO f
number or federal OR OR
Individual Taxpayer
9 xx — xx - 9 xx -— xx -

Identification number —— oe
(ITIN)

 

 

 

Official Form 1014 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
_ Case:19-18630-JGR Doc#:2 Filed:10/04/19

(“on 10

First Name. Midd!

Debtor 1

 

le. Name.

Fel (a. Marg Le ee

Last Name}

tf

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Case number (if known)

 

About Debtor 1:

About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

nave not used any business names or EINs.

UW, nave not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EN

Business name

EIN

EN

 

5. Where you live

. ,
AW Fra 4 foe

 

 

 

Number Street

Apt B2t5

Pueblo Co. Bloas
City State ZIP Code
Preble
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2 lives at a different address:

Q7oo Troy foe.

 

 

 

 

Number Street
Agt. B 2/3
Pueds fo Co % 100]
City ~ State ZIP Code
Puello
County

If Debtor 2's mailing address is different from
yours, fill it in here, Note that the court will send
any notices to this mailing address.

1016 Tackson ST.

 

 

 

 

 

 

 

Number Street Number Street
MO Box Llod3
P.O. Box P.O. Box
eon, \ ey cpanel
Tue blo Co 8/5! Puello Co  Srrvo4
City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Official Form 101

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(} | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2

 
_Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page3 of 61

Debtor 4 (av {0 fel, Oe (Var G 4@Zg. Case number (if known)
fy

ne First Name. MiddieName.* Last Name

  

|_ Tell the Court About Your Bankruptcy Case

 

 

 

_7 The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

are choosing te file

under ty Chapter 7

C] Chapter 11
C) Chapter 12
C) Chapter 13

 

 

 

8. How you will paythe fee (11 will pay the entire fee when | file my petition. Please check with the clerk’s office in your

: local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

C) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

te request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for ro
bankruptcy within the
last 8 years? Cl Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
. 10. Are any bankruptcy tH No
cases pending or being
filed by a spouse who is UL) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
_ 11. Do you rent your Ono. Goto line 12.
_ residence? (WYes. Has your landlord obtained an eviction judgment against you?

tf No. Go to line 12.

U) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
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. . 3
Debtor 1 "hy 10 fe ef é pe fare LEE, Case number (if known)

4 First Name-—--—----— Middla-Name———* ______| Last Name—— £7}

| Part 3: | Report About Any Businesses You Own as a Sole Proprietor

ee

 

 

 

12, Are you a sole proprietor WNo. Go to Part 4.
of any full- or part-time
business? (] Yes. Name and location of business

 

Asole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. P p P Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

 

 

City State ZIP Code
Check the appropriate box to describe your business:
C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
LJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CJ} Stockbroker (as defined in 11 U.S.C. § 101(53A))
C) Commodity Broker (as defined in 11 U.S.C. § 101(6))
C) None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
: Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a sinall business any of these documents do not exist, follow the procedure in 14 U.S.C. § 1116(1)(B).
debtor? K,
oe No. {am not filing under Chapter 11.
For a definition of small
business debtor, see CJ No. {am filing under Chapter 11, but am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

- Q] Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

aa Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

: 14. Do you own or have any Kno

: property that poses or is
alleged to pose a threat UL] Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1

   

15.

Firet N:
irst Name

 

1

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Ch é lo felipe

(Var gue Z

‘Last Name“

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

 

 

 

Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(J | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

lam not required to receive a briefing about
credit counseling because of:

C] Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

 

wy received a briefing from an approved credit
counseling agency within the 180 days before {
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

 

Your case may be dismissed if the court is

dissatisfied with your reasons for not receiving a

briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file. ‘
You must file a certificate from the approved

agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case

may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

C) tam not required to receive a briefing about
credit counseling because of:

(J Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

1 Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

C) Active duty. [am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5
 

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Debtor 1

 

LL) pe (ase us

Last Name. A iL
CA

Case number (if known)

 

 

 

 

46. What kind of debts do
you have?

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C1 No. Go to line 16b.
Yes. Go to line 17.
46b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain

money for a business or investment or through the operation of the business or investment.

Wo. Go to line 16c.
Cl Yes. Go to line 17,

16c. State the type of debts you owe that are not consumer debts or business debts,

 

 

47. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

L] No.

Hes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

1 am not filing under Chapter 7. Go to line 18.

 

 

 

 

excluded and No
administrative expenses .
are paid that funds will be C) Yes
available for distribution
to unsecured creditors?
_ 18. How many creditors do . 1-49 C) 4,000-5,000 CJ 25,001-50,000
_ you estimate that you C) 50-99 C] 5,001-10,000 ©) 50,001-100,000
owe? LJ 100-199 (9 40,001-25,000 CJ More than 100,000
CJ 200-999
- 49. How much do you Hf $0-$50,000 LI $1,000,001-$10 million CJ $500,000,001-$1 billion
estimate your assets to = CJ $50,001-$100,000 CI $140,000,001-$50 million C) $1,000,000,001-$10 billion
be worth? QO $100,001-$500,000 © $50,000,001-$100 million C) $10,000,000,001-$50 billion
(I $500,001-$1 million C2 $100,000,001-$500 million L) More than $50 billion
20. How much do you UH $0-$50,000 C) $1,000,001-$10 million LJ $500,000,001-$1 billion

estimate your liabilities
to be?

‘tlie Sign Below

. For you

U2 $1,000,000,001-$10 billion
© $10,000,000,001-$50 billion
CI) More than $50 billion

CJ $10,000,001-$50 million
LY $50,000,001-$100 milion
(2 $100,000,001-$500 million

CJ} $50,001-$100,000
C} $100,001-$500,000
C) $500,001-$1 million

 

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who Is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

! request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 
 

    

Signature of Debto A Signature of Debtor 2

Executed on o/b 1 / ao" Executed on /d OAL geld
! yyy

MM / DD IYYYY MM fr DD

 

 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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,F
/ g Jee
ob eae fd & ’ eo
c cs afte E 4 ~ Lament Case number (if known)
irst- Name. Middle.Name. Last Name”
E

 

Debtor 4

 

 

 

 

~---f-the-attorney for the debtor(s) named:in this-petition, declare-t thatt-hav informed the the-debtor(s about eli ibility
to proceed under Chapter 7, 11, 12; or to ore tt; ‘ s ; % ti j

 

 

    

 

 

: represented byo one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
: the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
_ If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
» by an attorney, you do not
: need to file this page. x n) ft
Date
Signature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

   

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7
‘

Debtor 4 Jara Ei al, oe

eeceecenee eee nce een FirstName. Middle Name”

 

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(as GEE Lemn Case number (f known)

Last Name)

 

 

  
 

bankruptcy without a an
, attorney

 

If you are represented by
: an attorney, you do not
: need to file this page.

 

 

Official Form 101

should ‘understand t that r many xy people find | it extremely difficult to represent
themselves successfully, Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LI No

Yes .

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CL] No
Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

CL) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

a
Le a) »)
|

Signature of Debtor 2

Date / 0-103) 20/4 Date Jo {02 [20/ ?
Contact phone 626 * a Z 3 LULS Contact ron 8 Abs ) 2 ) 5 - \ 5 4 lo
Cell phone “Le 238 - L946 Cell phone (oto) 2; I~ \S4 lo

Email address (lea on? t 7@ Fo sen tea ogc 2 Olena \Gn

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 

  

 

 
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Certificate Number: 01401-CO-CC-033490039

VOUT AAT TA

91401-CO-CC-033490039

CERTIFICATE OF COUNSELING

I CERTIFY that on October 1, 2019, at 12:53 o'clock PM EDT, Mario F Marquez
received from GreenPath, Inc., an agency approved pursuant to 11 U.S.C. 111 to
provide credit counseling in the District of Colorado, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: October 1, 2019 By: /s/Jeremy Lark for Pam Evans

 

Name: Pam Evans

 

Title: | Counselor

 

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 
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Certificate Number: 01401-CO-CC-033490040

UNICO ARTA

1401-CO-CC-033490040

CERTIFICATE OF COUNSELING

I CERTIFY that on October 1, 2019, at 12:53 o'clock PM EDT, Cynthia A
Espindola received from GreenPath, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Colorado, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111,

 

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: October 1, 2019 By: /sJeremy Lark for Pam Evans

 

 

Name: Pam Evans

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C, 109(h) and 521(b).

 

 

 

 

 
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Fill in this information to identify your case:

 

 

 

 

 

 

 

 

 

Case number

Debtor 4 Mani bel, pe \ an ues.
First Name Middle Name Last Nae
roth A Es pindol:
_ Debtor 2 My On La ACS GeS Bic ee UAL
Middle Name bi
United States Bankruptcy Court for the: District of

 

(If known)

 

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

C] Check if this is an
amended filing

 

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

aa Give Details About Your Marital Status and Where You Lived Before

» 4, What is your current marital status?

of Married

CJ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

QNo

‘Debtor 13

gr Zé wn i
Ja S/ aecvJon Fy

 

 

 

‘Dates Debtor.1

ves. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor.2:
lived there

() same as Debtor 4

From 6/2006 12 Sla a tor 2 Cc /

Dates Debtor 2
lived there

CL] same as Debtor 1

From ¢/20'?

 

@/20¢8

 

 

 

 

 

 

CJ same as Debtor 4

From 2 Hors

 

0 3/201?

 

 

Number Street i 12/ g ope Number Street
fh Se
A ne a
pueblo Co 8/00} Eucbla 0 Co 8/06 |
: City State ZIP Code _Clty State ZIP Code
Q Same as Debtor 1
From ALY Palo pi erie De
Number Street Number Street
To
a 2 &,
San Adin Tx [8227
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

(No

C] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

page 1
   

 

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Felice

Middle Name #

erin

First Name

Debtor 1

Mocgpez

LastName j}
i

Case number ¢if known)

 

 

Hr ify the 3 iT

W no

C) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,
YYYY

For the calendar year before that:

(January 1 to December 31,
YYYY

SIVeC-iTor-a

fobs ali

Sources of income
Check all that apply.

Q Wages, commissions,
bonuses, tips

QO Wages, commissions,
bonuses, tips

»} Operating a business

) Wages, commissions,
bonuses, tips

Q Operating a business

Hesses “Nico

Gross income

(before deductions and
exclusions)

Q) Operating a business

i Dart-iinie acnvitis

If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     

 

 

Sources of income
Check alt that apply.

O) Wages, commissions,
bonuses, tips

QO Wages, commissions,
bonuses, tips

C) Operating a business

) Wages, commissions,
bonuses, tips

() Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,

 

Gross income

(before deductions and
exclusions)

unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately, Do not include income that you listed in line 4.

M No

C} Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,
YYYY

For the calendar year before that:

(January 1 to December 31, )
YYYY

Sources of income
Describe below.

Gross income from
each source

{before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

Gross income from
each source

(before deductions and
exclusions)

 

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2

 
 

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Debtor 1 [er a)

First Name

fell 1028 i") OA G t€ Ee Case number (ifknown)

Middie Name F Last Name #}

a List Certain Payments You Made Before You Filed for Bankruptcy

 

 

‘ 6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?

CJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

LY No. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

cf Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more? .

Y No. Go to line 7.

1 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditor’:

's Name

Dates of Total.amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Code

 

Creditor’

's Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

a Mortgage

QO Car

CJ credit card

(} Loan repayment

C) Suppliers or vendors
LY other

C) Mortgage

] Car

CI credit card

QO) Loan repayment

C) Suppliers or vendors

C other

Q) Mortgage

C] car

) credit card

Cd Loan repayment

Q) Suppliers or vendors
C) other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

 
 

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‘ ¢ “
ws Vas 3
Debtor 1 (Nore Fe. w& vr WAC UC Case number (known)
First Name Middle Name * ~ Last Nam},

   

 

 

 

 

7, Within 1 year before you filed for or bankruptcy, d did dyoun make a a payment 0 ona a. debt you owed anyone who was.an insider?

“OP which you a O S
corporations of which y you are an officer, director, person in ‘control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

No

C Yes. List all payments to an insider.

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment i
payment paid owe

$ $ i

Insider's Name :

Number Street

City State ZIP Code
$
Insider's Name

 

Number Street

 

 

 

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
; an insider?

Include payments on debts guaranteed or cosigned by an insider.
No

OQ) Yes. List all payments that benefited an insider

 

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still, Reason for this payment
payment paid owe include creditor's name
Insider's Name $ $
Number Street
City State ZIP Code
$ $
Insider's Name

 

Number Street

 

 

ly State. ZIP Code...

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1 Mavs Cel iPpey War @ 4e & Case number (it known) |

First Name Middle Name $ Last Namej }

| Part 4:| Identify Legal Actions, Repossessions, and Foreclosures

 

 

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes,

 

 

 

 

 

 

 

 

 

 

 

 

No
CL) Yes. Fill in the details.
Nature of the case Court or agency Status of the case
Casetileo Coun Name Q Pending
Q On appeal
‘Number — Street ] Concluded
Case number
City State ZIP Code
Case title ‘Coun Name C) Pending
: C} on appeal
‘Number Street CY concluded
Case number
City State ZIP Code

 

 

: 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

vo, Go to line 11.
L) Yes. Fill in the information below.

Describe the property Date Value of the property

 

 

Creditor’s Name

 

 

Number Street Explain what happened

 

CL] Property was repossessed.

 

LJ Property was foreclosed.
QC) Property was garnished.

 

City State ZIP Code W) Property was attached, seized, or levied.

 

Describe the property Date Value of the property

 

Creditor’s Name

 

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.

 

Property was garnished,
City State ZIP Code perly g shed

oooo

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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. ‘ e
Debtor 4 aa CALO Cel, ee \aAg “ee Case number (i known)

First Name MiddteName * Last Name | }

 

. 11--Within-90-days-before-you-filed-for-bankruptcy,-did-any creditor, including-a-bank. or-financial institution,-set-offany-amounts.from your

 

ern Weems adebt?

No
Cl Yes. Fill in the details.

 

 

 

 

 

 

 

 

Describe the.action the creditor took Date action ‘Amount
was taken
Creditor's Name |
Number Street s
City State ZIP Code Last 4 digits of account number: XXXX—

- 42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
OC) Yes

List Certain Gifts and Contributions

 

 

_ 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
CD Yes. Fill in the details for each gift,

Gifts with.a total value of more than $600 Describe the gifts Dates you gave Value

 

 

 

 

 

 

 

 

per. person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person povminen ses seme tna so ey the gifts
_ $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6.

 
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Debtor 1 Max 1 Fel «pe. Nay “Gt O, Bon Case number tif known)

First Name Middie Name Last Name}
t

 

ruptcy, did-you give any gifts or contributions witha total value of more-than $600 to any charity? SS

 
 

 

 

 

{J Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value .
that total more than $600 contributed

 

 

Charity’s Name

 

 

Number Street

 

 

 

City State ZIP Code

 

List Certain Losses

 

 

45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

& No Le

CL} Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred loss lost
: Include the amount-that insurance has paid,.List pending insurance

claims on line .33:0f Schedule.A/B:: Property.

 

 

 

 

 

 

List Certain Payments or Transfers

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

 

 

 

 

 

 

 

 

No
Cl Yes. Fill in the details.
Description and value of any property transferred Date payment or Amount of payment
transfer was

Person Who Was Paid made

Number Street $
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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, bs yO
Debtor 1 (Mer 1o Fel 'ps i MAN AB Case number (known)
FirstName MiddleName * — CastName /}
Description.and value of any property transferred Date payment or Amount of

 

it

   

tran:

 

 

 

 

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No

LJ Yes. Fill in the details.

 

 

 

Description and value of any. property transferred Date payment or Amount of payment
: transfer was
made
Person Who Was Paid
Number Street —_— $
$

 

City Slate ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
UtNo
CI Yes. Fill in the details.

Description-and value of property Describe any property or payments received Date transfer
transferred: or.debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

 

 

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 
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Debtor 1 Moe ig Fel 1 he i Nowe ARE Case number (if known)

First Name Middle Name Last Name oh

 

19. Within 10-years before you filed for bankruptcy, did-you transfer any property to aself-settled trust or similar device of which you

 

 

are @ beneficiary? (These are often calted asset-protection devices.)

Uf No

CJ Yes. Fill in the details.

Description and value.of the property transferred Date transfer
was made

 

 

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
CQ Yes. Fill in the details.

Last.4 digits of account number Type of account or Date account was Last balance before

 

 

instrument closed, sold; moved, _ closing or transfer
or transferred
Name of Financial Institution .
XXXX— QO Checking $
C) Savings

Number Street
Q] Money market

 

) Brokerage

 

 

 

 

City State ZIP Code QO Other
XXXX— O) checking $
Name of Financial Institution ——
C) Savings
Number Street C) Money market

QO Brokerage

 

O other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
no
C) Yes. Fill in the details.

 

 

 

 

 

 

 

Who.else had access to it? Describe the contents Do you still
cnn, HAVE i?
() No
Name of Financial Institution Name CU) Yes
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 
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+ fon a or.
Debtor 1 Na “HO i- el the i ¥ iOAd Ue 2. Case number (if known),

First Name Middle Name * LastName jf

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Ci-No

 

 

OF Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents Do you still
Seauvity Storage Cet er Cunthia. NS Esaiad Io, | LWNo
Name of Storage Facility Name Ol Yes
ata] Nett ag has be. __ 2900 Chey Ave Ad,b2/3
Number Street Number Street

Pueblo Co  Rfoof

 

om ee» CityState ZIP Code
Pahl blo Co B00

_Gity . _. ... State ZIP Code

Eo Identify Property You Hold or Control for Someone Else

 

 

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
Wee in trust for someone.

No
C} Yes. Fill in the details.

Where is the property? Describe the property Value

 

Owner's Name ' $

 

Number Street

 

Number Street

 

 

 

 

 

City State ZIP Code
City State ZIP Code

xa Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

 

 

| Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

_@ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
: utilize it or used to own, operate, or utilize it, including disposal sites.

: & Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
i substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

: 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wo

CJ Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
i

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First Name Middle Name ‘ Last Name

Debtor 1 (Y) ayiiod Cel 1 0e- Marg Use Bae Case number (if known)

 

25. Have you notified any governmental unit of any release of hazardous material?

 

 

a A
CY No

OQ) Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice

 

 

 

 

 

 

Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

City : State ZIP Code

| 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

 

 

 

 

 

No
Q) Yes. Fill in the details.
Court or agency Nature of the case Status of the
' case

Case title

Court Name ) Pending

: QO on appeal

Number Street O) conctuded

Case number City State ZIP Code

Ea Give Details About Your Business or Connections to Any Business

 

_ 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
: OC) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

C) Amember of a limited liability company (LLC) or limited liability partnership (LLP)

Oa partner in a partnership

C) An officer, director, or managing executive of a corporation

C) An owner of at least 5% of the voting or equity securities of a corporation

Uno. None of the above applies. Go to Part 12.
CD Yes. Check all that apply above and fill in the details below for each business.
Describe the nature.of the business Employer Identification number
: Do not include Social Security number or ITIN.

 

 

 

 

 

 

 

 

 

Business Name j
BIN: =
Number Street ben snni cones sed
Name of accountant or bookkeeper Dates business existed
From To
CH onsnonnvnneennnn tate... ZIP Code | socnsauntnaragnugerngsernoionne
Describe the nature ofthe business Employer Identification number

__, Do not include Social Security number or ITIN.

 

 

Business Name

 

 

 

 

EIN; =o
Number Street :
Name of accountant or bookkeeper Dates business existed
| From To

i

City State ZIP Code |

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 

 
 

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Debtor 4 May te Fel, Dew are Yeh Case number (ir known)

First Name Middle Name? "LastName -/?

 

 

Describe the nature ofthe business Employer Identification number

 

 

 

 

 

 

 

 

ber or ITIN.
Business Name
EIN:
Number Street :
Name of accountant or bookkeeper Dates business existed
/
|
From To
City State ZIP Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Mf no

C) Yes. Fill in the details below.

Date issued.

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

ex Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

   

a D
Signature of Debtor Signature of Debtor 2

pate 10/02 /20/9 pate JO 02S 20/9

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

YW No

UL] Yes

vf you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

CL] Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119),

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
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Cas

- L ——.

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a fe ary ..
vebtor1 _/ Dario felioe Midhg eee
First Name , Middle Name of . Last Name ;
pee —— Cost Aon US pune ia
{Sp viffiling} First Name Middie Name +——tast Name
| United States Bankruptcy Court for the: District of

Case number
(If known)

 

 

 

 

Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information

C) Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

an Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

1b. Copy line 62, Total personal property, from Schedule A/B

1c. Copy line 63, Total of all property on Schedule A/B

; ia Summarize Your Liabilities

er Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)

5, Schedule J: Your Expenses (Official Form 106J)

 

 

Official Form 106Sum

1a. Copy line 55, Total real estate, from Schedule A/B...........

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F

Copy your combined monthly income from line 12 of Schedule |

Copy your monthly expenses from line 22c of Schedule J.......

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

Your total liabilities

Summary of Your Assets and Liabilities and Certain Statistical information

Your assets
Value of what you own

s &

$2539 20

 

 

oS te & he gre
$ oA Te ESO

 

 

 

Your liabilities
Amount you owe

s7 7A0. 44

s_ & |
+ 361128!

 

 

$ Yd 50.2. bs

 

 

$22 Yo {3

page 1 of 2

 

 

 
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Debtor 1 Vad 2a Fel ‘Pe.

First Name Middle Name ¥ Last Name

tS oan Case number (if known)

 

 

 

 

 

 

L] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

 

7. What kind of debt do you have?

our debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C, § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official ‘
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 30 5 hid x

 

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4.0n Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.)

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s SH ST
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $ eo
9e, Obligations arising out of a separation agreement or divorce that you did not report as $ +r
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$

 

9g. Total. Add lines 9a through 9f. $ 3i/ e 5 /

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
 

A

 

(Marto

First Name

Debtor 1

bel p

 

Cy athiag

ee
Middle Name

B fs O&

rh .
UROL, tee
Last Name

2 i

‘Last Name
sees

 

 

 

 

District of

United States Bankruptcy Court for the:

Case number

 

 

 

 

Official Form 106A/B

 

Schedule A/B: Property

Q) Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

| Part 4: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

- 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

No. Go to Part 2.
C) Yes. Where is the property?

44.

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

If you own or have more than one, list here:

1.2,

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

Official Form 106A/B

What is the property? Check all that apply.
C] Single-family home

QO) Duplex or multi-unit building

CI Condominium or cooperative

LJ Manufactured or mobile home

C) Land

C) Investment property

C] Timeshare

QO) Other

 

Who has an interest in the property? Check one.

C] Debtor 1 oniy

C) Debtor 2 only

(] Debtor 4 and Debtor 2 only

1] At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

What is the property? Check all that apply.
Single-family home
Duplex or multi-unit building
Condominium or cooperative
Manufactured or mobile home
Land ee

: Investment property
Timeshare
Other

OOOcCcCoOO0O

 

Who has an interest in the property? Check one.

UO) Debtor 1 only

O) Debtor 2 only

CY Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as iocal

property identification number:

 

Schedule A/B: Property

page 1

 
 

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aAtO 1g oe tee he

Middle Name Last Name

Debtor 1 Case number (if known}

First Name

 

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

oO Single-family home the amount of any secured claims on Schedule D:

 

 

 

   

 

 

 

 

 

 

 

 

 

 

1.3, Creditors Who Have Claims Secured by Property.
Street address, if available, or other description QO Duplex or multi-unit building - :
if Shasminian ae seoparatve £. £. J £. th Lc. £e + 1 £ 4h
(1 Manufactured or mobile home entire property? portion you own?
UO) Lana $ - $
CI investment property
City State 7iP Code ~©0 Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
C1 other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C] Debtor 4 only
County C] Debtor 2 only
C) Debtor 1 and Debtor 2 only C) Check if this is community property
(1 At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ ®
you have attached for Part 1. Write that number here, .............cceesecceeseeee eee e ee nee ene EEE >

 

 

 

 

Be Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
OC] No
Yes

Who has an interest in the property? Check one.

boda e

3.1. Make: Do not deduct secured claims or exemptions. Put
a ty Debtor 1 onl the amount of any secured claims on Schedule D:
Model: Ne tv © am eptor tT only Creditors Who Have Claims Secured by Property.

6 (J Debtor 2 only '

Year: OO] Current value of the Current value of the

Debtor 1 and Debtor 2 only

, entire property?
(CJ At least one of the debtors and.another Property

portion you own?

Approximate mileage: _{4¢/, @73, 04

Other information:

3 4000.00 5 (600,00

 

C] Check if this is community property (see
instructions)

 

 

 

If you own or have more than one, describe here:

Who has an interest in the property? Check one.

3.2, Make: Do not deduct secured claims or exemptions. Put
C1) Debtor 4 on! the amount of any secured claims on Schedule D:
Model: y Creditors Who Have Claims Secured by Property.
L] Debtor 2 only
Year: Current value of the Current value of the

Approximate mileage:

Other information:

 

 

 

Official Form 106A/B

(1) Debtor 1 and Debtor 2 only
(1 At least one of the debtors and another

C] Check if this is community property (see
instructions)

Schedule A/B: Property

entire property? portion you own?

page 2
i

. Case:19-18630-JGR, Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page27 of 61

 

 

 

 

 

     

 

 

 

 

 

Debtor 1 AALO {pe Mane if © Z Case number tif known)
First Name Middle Name — LastName?
33. Make: Who has an interest in the property? Check one. —_D not deduct secured claims or. exemptions, Put
~ Q the amount of any secured claims on Schedule D:
Madel: = ae oy Creditors Who Have Claims Secured by Proper)
th pentor 2 only
Year: C1 debtor 1 and Debtor 2 only Current value of the Current value of the
; . 2 : 2
Approximate mileage: C) At least one of the debtors and another entire property portion you own
Other information:
Cl] Check if this is community property (see $ $
instructions)
3.4, Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
( Debtor 4 on! the amount of any secured claims on Schedule D:
Model: ebtor | ony Creditors Who Have Claims Secured by Property.
U) Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

C) Debtor 1 and Debtor 2 only
) At least one of the debtors and another

C1) Check if this is community property (see
instructions)

 

Current value of the
portion you own?

Current value of the
entire property?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Via Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
N

oO

L) Yes

4.1, Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
C] Debtor 1 only

C] Debtor 2 only

C] Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L) Debtor 1 only

CI) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At feast one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who.Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the

Current value of the
entire property? :

portion you own?

 

8/001 00

 

 

 

page 3

 
» Case:19-18630-JGR _Doc#:2. Filed:10/04/19 Entered:10/04/19 13:20:02 Page28 of 61

Debtor 1 (pA lo

First Name

7
~e4 ys PC f BAG “eg = Case number (it snown)

Middle Name Last Name a

 

— By Describe Your Personal and Household Items

: -Do-you-own or have any legal or equitable interest in any of the following items? portio

Current value of the

    

Do not deduct secured claims
or exemptions, :

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

QC) No pe

 

(Y’ Yes. Describe......... | ) I Co wey - | bed \ *Xalele. a chores dishes ete, | ¢ 250,00

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections, electronic devices including cell phones, cameras, media players, games

UL] No

 

 

(Ves. Describe... | lL old Tv \ cell phone gs | 00,06

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
uv stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
No

C) Yes. Describe.......... iz | $
. 9, Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

 

 

 

CI Yes. Describe.......... | $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No - . a a we we
C) Yes. Deseribe.......... | $
11, Clothes

Examples: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

Q) No - —
Wes, Describe. ......... | $

Qvanday Clothes d shoes

 

 

12, Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

C] Yes. Describe........... ! ; | $

13. Non-farm animals
Examples: Dogs, cats, birds, horses

C] Yes. Describe..........! i | $

14. Any other personal and household items you did not already list, including any health aids you did not list

Ho

L] Yes. Give specific [
information. ........004 |

Veet a: tenet nrg nena innate nnn ten i it te erareiniennmmenne Rime want eat Sy rcqnne it cna tnt mens ener mae

 

2.60: 0O

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 5 SS O, 02

 

for Part 3. Write that number Here vo... ssccssesssssssessusssvevscscassensssesessessessusessssessssessisssssssasussivesssspssiessssusesecessitecceseesesaseeceses >

 

 

Official Form 106A/B Schedule A/B: Property

page 4.
. Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page29 of 61

 

 

. ° OT ee yy .
Debtor 1 Ato E ef jae fi LAA MEL A
First Name MiddieName — & Last Name éf owe

Case number (if known)

 

a Ea Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the folowing?

16.Cash

Current-value-of-the

POTS VoOu_OWhh 7
t #

Do not deduct secured-claims ~..
or exemptions. 4

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HW no

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. if you have multiple accounts with the same institution, list each,

LJ No

17.1. Checking account:
17.2. Checking account:
17,3. Savings account:
17.4. Savings account:

17.5. Certificates of deposit:

17.6, Other financial account:

17.7. Other financial account:

17.8. Other financial account:

17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks

Institution name:

Zw

 

 

 

 

 

 

 

 

 

 

 

 

 

19, Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

No

Cl] Yes. Give specific

Name of entity:

 

information about

 

$
$
$_ 25,00
$
$
$
$
$
$
$
$
% of ownership:
0% %
0% % §
0% %

 

Official Form 106A/B

Schedule A/B: Property

page 5

 

 
 

 

 

Caspi A860 -JGR . Doc#:2. Filed: 10/04/19 Entered: 10/04/19 13:20:02 Page30 of 61
Debtor 1 _ aA & as Fe tb | pe. = Aan ue Case number (it known)

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
atiab, tuuments. £ signing or delivering them

 

 

oho

UL) Yes. Give specific Issuer name:

information about

 

 

 

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
U] Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
M vo
CD Yes wu. . deveaeeeeneaes Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
DD Yes sesso Issuer name and description:
$
: $

 

 

Official Form 106A/B Schedule A/B: Property page 6
. Case:19-18630-JGE . Doc#: 4 Filed:10/04/19 Entered:10/04/19 13:20:02 Page31 of 61
_ Debtor 1 Alo keloe ‘

 

GAA Uda, Case number (if known)
First Name Middle Name ‘ Last Name fF —

ui

 

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b){1).

No

 

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

N 0 stern gee MeN nt A ttc Sh nent mma lek antennae Sathana an ie fiend teen cheat et nannies henna grr nti

L} Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No
C] Yes. Give specific

 

information about them... | $
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No ee epee mee fai cee stan ee naa sot ane aetna nny eee he et detente meta ia  tgtN M See eee net A I HE eg
C] Yes. Give specific |
information about them....| $
[eee ae een aan ear tee ttn antennal
Money or property owed to you? Current value of the

portion you:own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
No

 

L] Yes. Give specific information Federal:
about them, including whether
you already filed the returns State:
and the tax Years. oo... esetereceee |
i Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

L] Yes. Give specific information..............

|
| Alimony: $
Maintenance: $
Support: $
| | Divorce settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Wve
CJ Yes. Give specific information.............. | OO ——- - | ;

Official Form 106A/B Schedule A/B: Property page 7

 
. Case A 8eS0-IRA Doc#:2,, Filed:10/04/19 Entered:10/04/19 13:20:02 Page32 of 61
Debtor 1 MNoAto ey fe hg Up 2

Case number (if known)

 

First Name Middie Name Last Name

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

 

 

 

 

 

 

 

 

 

UNo
a .
UI Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...
e at FE
Clobe Ui, Je for Sows Clary larg we z $_ 244,00
: ; Ww > rag Ee
Globe Lite pox A tay [acy Marg woz g_ /20,20
0) whet g) bwmbha 5 _ Lary Mave Cz g /W0,00
DV utucl of bawhe, Goobdented Felloe Cgon) & Meru Mase ued 10060
32. Any interest in property that is due you from Taal wie has died ipe CSe | eS

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
No

CL] Yes. Give specific information.............. | -

 

33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
nn Accidents, employment disputes, insurance claims, or rights to sue
No oo ea
CJ Yes. Describe each claim. .aceecceen |
$

 

 

 

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

i. off claims
No

Cl Yes. Describe @Ch CaM. ... eee i

ae ne

35. Any financial assets you did not already list

No sooo ceases se
LJ] Yes. Give specific information............ | $

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached § Z
for Part 4. Write that number Here o......cccccccccccssssssssesssssseessosessssssvesessssscseccesesesssusesssessssssssassssvesssssssesessssecssssssssssstiivssssasasesesasessaseeseens »> $ /3. 7,20

 

 

 

 

ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
GY No. Go to Part 6.
C) Yes. Go to line 38,

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
38. Accounts receivable or commissions you already earned

No — a a - 7 --. . - eee - ae See we eee -. ee eee eee a Seca can oe een
C) Yes. Describe.......
i

 

 

i
i

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
No Pr tieceeeneeeet a temntee g Ge SEPT Maat ene teenies NAM Soe RON Steet oem cee acing mant aka ae sa ett nee ae Ae Heth 4 ny tmnt Re poate tees
1 Yes. Describe....... 5
|

Official Form 106A/B Schedule A/B: Property page 8
 

, Case;19-18630- ASB Doc#:2 Filed:10/04/19 Entered: 10/04/19 13:20:02 Page33 of 61
. Debtor 1 Maa to pe. Nau ¢ wee Case number (it known)

First Name Middle Name LastName @

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Wc

C)-y

 
 

 

 

  

 

 

: pentory
: No poe vo oe

C) Yes. Describe........ ,

42. Interests in partnerships or joint ventures

No
C) Yes. Describe.......

 

 

Name of entity: % of ownership:
% $
%
% $

 

43, Customer lists, mailing lists, or other compilations
No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

Q No . ponte mn mee nema RA Pe Ata A AE AeA aA AN tf acd inet tet iden ince Menten yamaha ay
CJ) Yes. Describe........ |
i

i

Lo.
“4 Aypblisiness-related property you did not already list
No

C1 Yes. Give specific
information .........

 

 

 

 

 

FF fF Ff Ff

 

 

- 45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ Q
for Part 5. Write that mumber Here oo... scccesssssssmessssssessssssssssssssssessssnssssnssssssnssssssesassanstsssasisissasssssasasisevesssessssssesssssssesesesesesseseeee »>

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Ono. Go to Part 7.
C1 Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
47. Farm animals
we Livestock, poultry, farm-raised fish
No
C) YOS essence —
$

Official Form 106A/B Schedule A/B: Property page 9
}

. Case,19-18630-JGR, Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page34 of 61

 

 

. Be
me 5 & ha re
Debtor 4 ail & fF ar pet i iad @ wet? Case number (if known)
First Name Middle Name F Last Name u

 

48. Crops—either growing or harvested

No cent ing i ee nye nena ee cin maneenin yn nneenenee
LI Yes, Give specific.

 

 

 

jiunejmnarceiieia p.

 

 

 

 

- 49. fee and fishing equipment, implements, machinery, fixtures, and tools of trade
: N

 

 

 

 

 

 

 

 

 

 

 

 

°
CDV €S veces | ee - “|
i
epee . nese an wenal $
50. Farm and fishing supplies, chemicals, and feed
No
CDV OS eee ee |
or Bay farm and commercial fishing-related property you did not already list
No
LI] Yes. Give specific |
information. ........ | $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ RQ
for Part 6. Write that number here... ccccccssessssssssssssssssssnsesssecsssssnnessecessnnaesesecesesssssesenseteseeseseeeecsssssscratvansssseseeseunmmonsecstesseusesees >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53, Do you have other property of any kind you did not already list?
: Season tickets, country club membership
No decent nen ence annum a — sacar eeeenenenn nn
LI Yes. Give specific
information. ...........
| }
L oe ene cee 4
54, Add the dollar value of all of your entries from Part 7. Write that number here ooo. eceteeenenneetecesenecesneesenenees »> $ OQ

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, We Qo... cccsseccseecsssesssssseessssvscsssesssecssscssnecsssesssssssanessunscssaressussussessssavsessssaseassstessesessecssscessaseeseceesseesvesses > § So

56, Part 2: Total vehicles, line 5 ¢ 1GO0.00
57. Part 3: Total personal and household items, line 15 $ 5S O00
58. Part 4: Total financial assets, line 36 $ [387 . Z o
59. Part 5: Total business-related property, line 45 $ Q

60, Part 6: Total farm- and fishing-related property, line 52 $ &

61. Part 7: Total other property not listed, line 54 +5 XQ

62. Total personal property. Add lines 56 through 614. «...cssesee g 3 Sf 39 ! 20 i Copy personal property total > +3 Q

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62.00. ceeee creer rneteeeerecesenensuseeseseesseccesmeessenepeecisseerssaees 5.25. 5 7 é A O

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page35 of 61

Fill in this information to identify your case:

 

 

 

 

 

 

 

 

 

 

Af} * fe f-
Debtor? = _//' AF /0 Fed pe
First an ¥" Middle Name ~

thia Ring Espinde!
Debtor 2 Cun La. AA CSainge ia
(Spouse, if filing) _ First Nate Middle Name * Last Name
United States Bankruptcy Court for the: ___ __ District of
Case number Q) Check if this is an
(if known) amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

} Part 1: | Identify the Property You Claim as Exempt

1, Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Of vou are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

¢

: 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line.on. . Current value of the Amount of the-exemption you claim Specific laws that allow exemption
Schedule.A/B that lists this property portion you.own :

Copy the value from Check only.one box for each exemption.
Schedule A/B

Brief = 00) Ded ae Nitra s/o) 00 Os 4000.00

 

 

 

description:

Line from O) 100% of fair market value, up to
Schedule A/B: 3 | any applicable statutory limit
Brief

description: —_______—— Os

 

C) 100% of fair market value, up to

 

 

 

Line from . wee
Schedule A/B: any applicable statutory limit
Brief

description: —________--_ Os

Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No
CQ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

OQ) No
O Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of df

 
 

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ATMO CMEC Lem <emcelil tia ms Lele meere iow

 

 

 

 

 

 

 

 

: ; Vian on z
Debtor 1 i 140 iQ a ef ee CAN? 68 B.
First Name *Middie Name é Last Name
Debtor 2 Cunth ia Ana és unde { fa
(Spouse; iffiling) FirstName ‘Middle Name LastName
United States Bankruptcy Court for the: District of
Case number . oo.
(if known) CY Check if this is an

 

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do.any creditors have claims secured by your property?
ED No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below. ,

iu List All Secured Claims
Column A’? ColummB ‘Column C.

2, List all secured claims, If a creditor has more than one secured claim, list the creditor separately Amount of claim” Value of collateral. Unsecured
foreach claim.. If more than one creditor has a particular claim, list the other creditors in Part2. yg not deduct the that: supports tt this sportion: =: :

   
   

 

 

 

 

 

 

 

 

 

As.much as. possible, list the claims in alphabetical order according to the creditor's name. value of collateral. Ee claim. : it any
[2.1] Urrt U eA cal) Acceglance Describe the property that secures the claim: 3 J, 7201 “fs $ 7 1201 5 $ oe
Creditor’s Name mw a "
~ QOok® Pontiac Gb
Po Box BISIO4F
Number Street ce ceed
As of the date you file, the claim is: Check all that apply. , “4
Q conti - las beer Wo luster
: Contingent \p. rch FAS Heer
sd 10. M N 554 34 Q) unliquidated Su Pree Gene chs
City State ZIP Code Disputed “ene on
Who owes the debt? Check one. Nature of lien, Check all that apply.
Q _Debtor 4 only Aan agreement you made (such as mortgage or secured
5) Debtor 2 only car loan)
Debtor 1 and Debtor 2 only U1 Statutory lien (such as tax lien, mechanic’s tien)
LI Atteast one of the debtors and another {Judgment lien from a lawsuit

C) other (including a right to offset) a
U) Check if this claim relates to a

community debt /
Date debt was incurred ! f /s 2018 Last 4 digits of account number _/- SE a

| 2.2] Describe the property that secures the claim: $. $ $

Creditor’s Name

 

 

 

 

 

 

 

Number Street i
As of the date you file, the claim is: Check all that apply.
O Contingent
U1 unliquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
QJ Debtor 1 only (J An agreement you made (such as mortgage or secured
L) Debtor 2 only car loan)
() Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
(] At least one of the debtors and another CJ Judgment lien from a lawsuit

C] Other (including a right to offset)
LJ Check if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number __

 

Add the dollar value of your entries in Column A on this page. Write that number here: B

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property . page 1 of _f

 
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Case:19-18630-JGR Doc#:2

ata cats) TAC to identify your case:

 

fJaria feb ge

Debtor 1

 

 

 

FirstName : Middle Name
Debtor 2 Cu it th om Roan
(Spouse, if filing) FirstName Middle Name

 

 

 

 

 

L) Check if this is an
amended filing

Case number
(if known)

 

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12/15

 

io List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

No. Go to Part 2.

Q) Yes,

 

 

om te t
211 Noe. and dane Naran 1d

 

 

 

 

C) Debtor 4 only
U) Debtor 2 only
Debtor 1 and Debtor 2 only
L) At teast one of the debtors and another

CI) Check if this claim is for a community debt
Is the claim subject to offset?
oe

es) No
UL] Yes

 

Priority Creditor's Name

 

 

 

Q) Debtor 4 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q) At teast one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

) No

 

L) Yes

Total claim

Priority.
amount:

2. List all of your priority unsecured claims. Ifa creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

--Nonpriority.
amount :

Last 4 digits of account number f G. Oo. a s+1000,00 $ Afao.0d g_ito 08.06

Priority Creditor's Name _ a
on ‘ os

? gS S a fi | eo pe, When was the debt incurred? Jule BON

Number Street —
8 ( WD t g 00) As of the date you file, the claim is: Check all that apply.

ueolo Wes go .

City State ZIP Code U1 Contingent
; > Q) Unliquidated

Who incurred the debt? Check one. O) bisputed

Type of PRIORITY unsecured claim:
Domestic support obligations
UO Taxes and certain other debts you owe the government

C1 claims for death or personal injury while you were
intoxicated

OY other. Speci Dodge Nive L007
~axr UAB Fort 2 - Exempt

———  $ §

 

Last 4 digits of account number

When was the debt incurred?

Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent

City State ZIP Code Q) Untiquidated

Who incurred the debt? Check one. U1 Disputed

Type of PRIORITY unsecured claim:
CJ Domestic support obligations
CJ Taxes and certain other debts you owe the government

CJ Claims for death or personal injury while you were
intoxicated

QO) other, Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 1/5

 

 
sept Casey 12020 068 “

FirsfName | Middle Name

AAA Lp’ = 4

fe Last Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

“Doc ip F Filed: jg)oala9 Entered:10/04/19 13:20:02 Page38 of 61

Case number (i known)

 

 

es

3. Do any creditors have nonpriority unsecured claims against you?
Q) No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Y

 

 

 

claims fill out:the Continuation Page of Part 2.

| fee C ashe Ex fue
Nofipriority Creditor's Ass
2.47%

LA) +
aoeol Street

Puebla Co 5/008

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. Ifa creditor has more than one
nonpriority. unsecured claim, list the creditor separately. for each claim. For.each claim listed, identify what type of claim it is. Do not list claims already
included in Part:1, If more than one creditor.holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

 

City State ZIP Code .. «

Who incurred the debt? Check one.
Debtor 1 only

U) Debtor 2 only

C) Debtor 1 and Debtor 2 only

1 At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?
No
C) Yes

—Totalclaim

 

Last 4 digits of account number 7. oO Oo. fe

When was the debt incurred? e, fj o fA 7

As of the date you file, the claim is: Check all that apply.

 

QO Contingent
Unliquidated
U Disputed

Type of NONPRIORITY unsecured claim:

(J Student foans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CO) Debts to pension or profit-sharing pians, and other similar debts
Ma bead

    

 

 

Ad va rice

Nonpriority Creditor’s a

Sc. Pra rie, Arve.

 

 

 

flo % X x
Numbes, “ Street .

Tue b bo Ca (OS
City State ZIP Code

Who incurred the debt? Check one.
Debtor 4 only

CO debtor 2 only

CJ] Debtor 1 and Debtor 2 only

OQ At least one of the debtors and another

C] Check if this claim is for a community debt

is the claim subject to offset?
Ufio
QO) Yes

Last 4 digits of account number 625 & $ S¢/, r/

When was the debt incurred? Gf) Pf ede

 

As of the date you file, the claim is: Check all that apply.

Q Contingent
Unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

L) Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

 

 

es | Yel darice.. fa we ried,

Nonpriority Creditor’s Name

[433

Number Street

Pie bo

City State

i)

S. Prarie fue
ZIP Code

ae

Who Incurred the debt? Check one.
QO Debtor 4 only
Debtor 2 only
O) Debtor 1 and Debtor 2 only
CJ At teast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
No
QO) Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number oO 65S ¢ OFS , @ 3
When was the debt incurred? 7 L1G of Of g

As of the date you file, the claim is: Check all that apply.

C) Contingent :
(BUniiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C) Student toans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO} Debts to pension or profit-sharing plans, and other similar debts
Other. Specity A A i a. a faa
é f

g

paged of / 5

 
Debtor 1

caserp9-12600-3 -J

First Name

R 4 Boc#:
724 8

Middle Name é

  
  

Last Name

Filed: 10/04/19 Entered:10/04/19 13:20:02

 

Case number (if known),

 page39 of 61

 

Ee Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on .this.page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

4

 

i}
Hmencican i y hed ic all ke 9D fAVIES.

Oo . Creditor's Name /

— 2 het

 

 

oa ai 4
ua he Q

City State

 

“ZIP ‘Code

Who incurred the debt? Check one.

Debtor 1 only
CI) Debtor 2 only
Cd Debtor 1 and Debtor 2 only
C1 At teast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

GNo
O Yes

Last 4 digits of account number 7D g. YS
oy

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
~ Unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sh ring plans, and other similar debts
Other. Specify ECA.

 

 

2

 

 

AS

 

hrsT  wWrreless

Nonpriority Creditors Name
flo Huy So West
g (008

ee Pua he A
Ue ble CO
ZIP Code

City State

Who incurred the debt? Check one.

CJ Debtor 1 only
Debtor 2 only
CQ Debtor 4 and Debtor 2 only
CD At least one of the debtors and another

O) Check if this claim is for a community debt
Is the claim subject to offset?

No
W) Yes

Last 4 digits of account number 7 7 3 &
, yy B
When was the debt incurred? f Of of / DO PE
i

As of the date you file, the claim is: Check all that apply.

CL) Contingent
Unliquidated
Q] Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

OQ) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
CJ Debts to pension or profit-sharing plans, and other similar debts

Other. Specify Cel f

sll Ye 87

 

 

f

BCU Bank

Nonpriority Creditor’s Name

34 0 N. mi Waukee,

Number Street —_
eA vier) i \\s aL

City State

& 0664

ZIP Code

Who incurred the debt? Check one.

C Debtor 4 only
Debtor 2 only
Q) Debtor 4 and Debtor 2 only
(CI At teast one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

fio
C] Yes

Last 4 digits of account number g f ft of
When was the debt incurred? ZOD 9

As of the date you file, the claim is: Check all that apply.

Q Contingent
Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sharing plans, and other similar debts
Other, Specify (* Oe

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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page> of [5

 
etter casy0-1 18630- Pet, “Doct,

First Namé& Middle Name Last Name

Aas G Lee

 

 

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Case number (if known),

 

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

After. listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

A]

 

Black, dds

AA ¢g g
Nonpridrity CreditoPs Name

Po Rax (noo

Number Street

 

 

Last 4 digits of account number Y 2 LG. gG 3206.53 3
When was the debt incurred? Vs 20} &o - tofs Pa g

  

 

 

 

 

 

 

Who incurred the debt? Check one.

debtor 1 only

C) Debtor 2 only

CJ Debtor 4 and Debtor 2 only

CJ At least one of the debtors and another

O) Check if this claim is for a community debt

r oe of As of the date you file, the claim is: Check all that apply.
Ka pid City Sd 59909 L G00/
Ciy " # é State ZIP Code OQ) Contingent
(@* Untiquidated :
Who incurred the debt? Check one. Q Disputed
Debtor 4 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only © student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
U) Check if this claim is for a community debt you did not report as priority claims
LJ Debts to pension or "profit-sharing plans, and other similar debts
Is the claim subject to offset? 2 Gther. Specify & ght! ged fife ua insane LG o
7 4
No Bo *Ff
CJ Yes ;
4% a Z a ee ?
Aoard of We As lov Ics Last 4 digits of account number & ft. Ss. O_ shoe. Ox
Nonpriority Creditor's Nai “3
3 19 io ¥ éf th x When was the debt incurred? OF 9
Number Street .
A ey As of the date you file, the claim is: Check all that apply.
uehlo (l_b 8 1008
City ~ State ZIP Code (2 Contingent

Unliquidated
U) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UO) Debts to pension or profit-sharing plans, and other similar debts

bi’ if

 

 

 

  

 

1 Box 605 99

Is the claim subject to offset? i Other. Specify ddze# G4
No
UO) Yes
4, | 3 $ G/3, 63
Cabo i “ fhe Aa a Last 4 digits of account number Xo. Gt
Nonpriority/Creditor's: Name ~~ S

 

 

Number Street
Cit, of Endustry CA Wie ~ OFG4
Ciy ff Z a) State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only
C) Debtor 2 only
Q Debtor 1 and Debtor 2 only
(J At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

CrNo
CD Yes

 

 

When was the debt incurred? Gh), Gf AOI?

As of the date you file, the claim is: Check all that apply.

CQ) Contingent
CTintiquidated

O Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
O) Debts to pension or profit-sharing plans, and other similar debts

CY Cther, Specify... “Cre eof Caid

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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- Filed:10/04/19 Entered:10/04/19 13:20:02 Page41 of 61
sus CASPAR IBSSQIGR. Doct Fi uy UZ 2 9

As 2,
Middle Name eal

First Name Last Name

Case number (if known)

 

ES Your NONPRIORITY Unsecured Claims — Continuation Page

 

After-listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth,

 

Total claim —

 

 

 

 

 

 

 

pe Universal Pree glance Covp. Cony No Eu a

Nonpriority Creditors Name

POBox 398104

Number Street

 
  

a Last 4 digits of account number FD Jj va a
_

 

6/72 0. YS
When was the debt incurred? i fis fe ae?

 

 

 

 

 

 

Debtor 1 only
C1 Debtor 2 only
(2 Debtor 1 and Debtor 2 only
OQ) At teast one of the debtors and another

O Check if this claim is for a community debt

: As of the date you file, the claim is: Check all that apply.
® ye ‘on
A Wa MN S54 34
City . State ZIP Code CO) contingent
Unliquidated
Who incurred the debt? Check one. QO Disputed
L) Debtor 4 only . \
(J Debtor 2 only Type of NONPRIORITY unsecured claim:
Debtor 1 and Debtor 2 only ©) student loans ‘ :
C1 At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you did not report as priority claims
¥ CI Debts to pension or profit-sharing plans, and other similar debts i
Is the claim subject to offset? ther. Specify 2.008 farfiac Ch Leman Ca e- “rhe
Bio Sarrendeyed Ual Lupe? 4 PP haaeigs ae a
QO) Yes wa ino 2 Fe :
by ie. L kK 3 uf “ i
Last 4 digits of account number a Ss & i 0 j c
Cevttun, ue ints. 9 — A —— fei
Nonpriority Creditor's N i
needs Q page When was the debt incurred? Aol & i
“Rox, “4US55 :
Number. Street 5
‘ = , As of the date you file, the claim is: Check all that apply. :
SA Cee |b ’ \
Sen. trhe. Lie PSIU- F255
City State ZIP Code Contingent i
ro
Who incurred the debt? Check one. g Disputed

 

Type of NONPRIORITY unsecured claim:

C] student toans :

Q Obligations arising out of a separation agreement or divorce that
of did not report as priority claims i
Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

Who incurred the debt? Check one.

QO) Debtor 1 only
Debtor 2 only
OQ Debtor 4 and Debtor 2 only
(J At least one of the debtors and another

O Check if this claim is for a community debt

Is the claim subject to offset?

BNo
QO) Yes

 

Is the claim subject to offset? wee Specify /A Fete F i
No :
U Yes i
De a “4 $ 28 £ eed / :
/ Last 4 digits of account number of o °
Cottanytink 3 T2739
Nonpriority Creditors Name 4 _
p oy Po te When was the debt incurred? ef A O¢ s
O Roe 465 OT
Number Street t
4 . o As of the date you file, the claim is: Check all that apply. :
Seattle. CR 98-955 |
City . State ZIP Code Q) Contingent

A Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Q Obligations arising out of a separation agreement or divorce that :
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
Other. Specify / 4 Sea Aé..

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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_Cagg 19- 1863p. yor | Dosh: 2 Filed: 10/04/19 Entered:10/04/19 13:20:02
Debtor 1

es Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries:on this page, number them beginning with 4.4, followed by.4.5, and’so forth.

Nata he be

CS Name D-

bly pe

Middle Namé *

“Lyla

First Name

Case number (if known)

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Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

"PO Rex GIS Blo

 

 

Number Street “
Dallas TR 25234
City State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only
CJ Debtor 2 only
CQ) Debtor 4 and Debtor 2 only
CJ At teast one of the debtors and another

©) Check if this claim is for a community debt

Is the claim subject to offset?

No
QO) Yes

20/8

As of the date you file, the claim is: Check ail that apply.

When was the debt incurred?

Q Contingent
Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

eo to pension or profit-sharing plans, and other similar debts
Other. Specify Was Dr 4 er

p! 4 = daG aah
y C OME AES Last 4 digits of account number Z Oo. aA é $ a a a y
Nonpriority Creditor's Nami 9
oP. Leth st. When was the debt incurred? PEF S
Sq 5S in abeth S
bi
Number ; bin 8 Z As of the date you file, the claim is: Check all that apply.
Puelle so  Looy
City State ZIP Code Contingent i
Won :
Who incurred the debt? Check one. O Disputed
QQ Debtor 1 only
Debtor 2 only Type of NONPRIORITY unsecured claim:
C] Debtor 1 and Debtor 2 only (2 Student toans :
C1 At least one of the debtors and another C] Obligations arising out of a separation agreement or divorce that
(1) Check if this claim is for a community debt you did not report as priority claims :
Debts to pension or profit-sharing plans, and other similar debts :
Is the claim subject to offset? ail Specify Ca & f Cen i
No :
U) Yes
5 #5 he" ges ot
2 (‘6 wr eg Last 4 digits of account number Y f 5 oO gel Rent oo ce

 

 

Credk One Rank

Nonpriority Creditor’s Name
POM 0 500
CR 9716 - 0860

Number flee uct}
é
{ uf
ZIP Code

City State

Who incurred the debt? Check one.

Debtor 1 only
C) Debtor 2 only
C1 Debtor 4 and Debtor 2 only
C At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

No
QC) Yes

Last 4 digits of account number 3 bb go on
eo!)

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

QO Contingent
Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

QI student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
u Debts to pension or ee oon plans, and other similar debts
ae

"Other. Specify led Ff Ea

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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$ & ab. “a “

 

 

 

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}
g
‘

page (p of /5

 
Debtor 1 Caspr} 1G690-pC | R, porte WV)

First Name Middle Name t Last Name

@ lad 2
wd

led: 10/04/19 + Entered:10/04/19 13:20:02

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Case number (i known).

 

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

pi! d ek

Nonpriority Creditor's Name

 

 

PO Box 5007
Number Street
Oral Stream lL (pd ee- S007
City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 4 only

(Deptor 2 only

C1 Debtor 1 and Debtor 2 only

Q) At least one of the debtors and another

QO Check if this claim is for a community debt

Is the claim subject to offset?

WW no
CJ Yes

 

Sgt a wT ted be, G
Last 4 digits of account number Za O Mf g bth SF

woes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QQ Contingent
*Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q2 student loans

UO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
QO) debts to pension or profit-sharing plans, and other similar debts

(other. Specify Cea é fe

 

 

5

 

 

Dish () ef LJor K
Nonpriority Creditor’s Name ow
~ 0 Woy 4 ‘Lo 6S
Number, ‘Street 2
irre. IL (p 0094 - 4003
City State

ZIP Code

Who incurred the debt? Check one.

Debtor 1 only
CQ] debtor 2 only
C1 Debtor 4 and Debtor 2 only
() At least one of the debtors and another

CQ) Check if this claim is for a community debt

a claim subject to offset?

No
OQ Yes

5519, of !

Last 4 digits of account number é a 64
When was the debt incurred? ZO

As of the date you file, the claim is: Check all that apply. ;

Q Contingent
Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

OU student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

We to pension or profit-sharing plans, and other similar debts
Oo

ther. Specify Ck 6 /e.

 

Ex OVeSs Check. A Aone 2.

Nonprionity Creditors Name

Ba, 4955

Number, Street

fh Oslin “Tx

City ~ State

789 0¢- [988

ZIP Code

Who incurred the debt? Check one.
D

ebtor 1 only
C) Debtor 2 only
O Debtor 4 and Debtor 2 only
C) At least one of the debtors and another

C1) Check if this claim is for a community debt

Is the claim subject to offset?

ENo
Q) Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

75 dd

7 *
Lots

i
I,

Last 4 digits of account number “ q_§

un [“

When was the debt incurred?

As of the date you file, the claim is: Check all that apply,

Q Contingent
Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

CJ student toans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QC) Debts to pension or rita fo and other similar debts
Other, Specify pas Gat a4 %)
i

 

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Debtor 4 EA ge kr ae

‘IAhe aL =
wa Name c

First Name MiddleName = 4

Case number (if known)

 

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

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lonpriority Credilor's Name +

PO Box /6é6

Nupher Street .
OMAK NI

City

 

 

 

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O91 Of- Olbbs

State ZIP Code

i, incurred the debt? Check one.
D

ebtor 1 only
() Debtor 2 only
C) Debtor 1 and Debtor 2 only
CQ) At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

No
QC Yes

Last 4 digits of account number ‘Ss. Y 2 6 _
2007

As of the date you file, the claim is: Check all that apply.

Q Contingent
Unliquidated
QO Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:

(Student toans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts

(® other. Specify cA Car a

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Furst Reger Bank

Nonpriority Creditor's Name

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Number

 

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SV7-§ S19

ZIP Code

  

Sud
City State

Who incurred the debt? Check one.

Debtor 1 only
CL) Debtor 2 only
J Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

No
OQ Yes

Last 4 digits of account number bo. ef 29°
for)

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

Q Contingent
@Tniiquidated

Q) Disputed

Type of NONPRIORITY unsecured claim:

C} Student loans

Q Obligations arising out of a separation agreement or divorce that
on did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts

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Lendmaak |

Nonpriority Creditor’s Name
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e415 t N. OO abe eth
Buel blo Co & (008

City State ZIP Code
Who. incurred the debt? Check one.

1 debtor 1 only

O) Debtor 2 only
C] Debtor 1 and Debtor 2 only
(Cl At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

No
OQ Yes

 

  

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Last 4 digits of account number ls

2.

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When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Q) Student foans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts

Other. Specify ab ¢)

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Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Al CE 63 Bag lala
FirstName — MiddieName  ” & Last Name ff aoa

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, Eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

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FC ES

Nonpriority Creditor’s Name

mber Street
wollo Co.

City State

 

oak

ZIP Code

Who incurred the debt? Check one.

LF pebtor 41 only

C) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(C) At least one of the debtors and another

C) Check if this claim is for a community debt
Is the claim subject to offset?

No
(J Yes

Man fe 2g MCV hide vals

Nonpriority Creditor's “Shy
Mla 1% Ave

 

 

Number Street
Monroe. Wt 5356+ (364
City State ZIP Code

Who incurred the debt? Check one.

Debtor 4 only
CQ) Debtor 2 only
L) Debtor 1 and Debtor 2 only
C) At east one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

“No
C2 Yes

Last 4 digits of account number 2D Oo DG
Of22 hi -

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

Q Contingent
Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

CJ Student toans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO) Debts to pension or profit-sharing plans, and other similar debts
Other, Specify. {2 aty day OE f 9

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As of the date you file, the claim is: Check all that apply.

Last 4 digits of account number

When was the debt incurred?

Q Contingent
(B-Tinliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

oes to pension or profi aie plans, and gther similar debts
Other. Specify_. ent. eo CAT

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Ope Main fen:

ain Creditor's Name

0 Box b4

 

 

 

Number Street
Sinnspelle, — (N UTIol- 0064
oe State ZIP Code

Who incurred the debt? Check one.

Debtor 1 only
U Debtor 2 only
C1 Debtor 4 and Debtor 2 only
(C) At least one of the debtors and another

C) Check if this claim is for a community debt
Is the claim subject to offset?

No
UO) Yes

 

Last 4 digits of account number x OO. b bn.
ol]

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

C) Contingent
Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(J student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UD_debts to pension or profit-sharing plans, and other similar debts
Other. Specify le a “)

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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FirstName Middie Name Last Name sere?
Eo Your NONPRIORITY Unsecured Claims — Continuation Page
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iO if Pea ress i 2, Last 4 digits of account number ri uy ye Vf 36 ), éé
Nonpriority Creditor’s Name

WA 5 lo We: of Dain AN e. When was the debt incurred? LZO/O

Number Street :

 

 

» bee | os st / As of the date you file, the claim is: Check all that apply.
NODOK Utah 4020
City Y State ZIP Code CJ Contingent
Unliquidated
Who, incurred the debt? Check one. O) bisputed

EY Debtor 1 only

C2] Debtor 2 only
(J Debtor 4 and Debtor 2 only
C) Atleast one of the debtors and another

Type of NONPRIORITY unsecured claim:

(J Student loans

( Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims
C) Debts to pension or profit- shar] ring plans, and other similar debts

A claim subject to offset? 1 other. Specify / UA Ni TRAD
No U

C) Check if this claim is for a community debt

C1 Yes

I Que Cash

Nonpriority Creditor's Name

029 Hreblo Blvd Sle 120

Number Street

 

 

 

Last 4 digits of account number SLL 7 |g bo gl Pah EF vt

When was the debt incurred? oy, ¢f 2 pad -

 

ge. As of the date you file, the claim is: Check all that apply.
Pulls Co % 1005
City State oe Code QO Contingent
Unliquidated

Who incurred the debt? Check one.

Debtor 1 only
QC) Debtor 2 only
U) Debtor 4 and Debtor 2 only
(CJ At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

No
CJ Yes

Q) Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts
C4 other, Specify poy Laety i Chee

 

 

ON Beeb vost
PO Roy Va %2

Number Street

4 Py
ewer CO Sdar7. 33283

City State ZIP Code”

Who incurred the debt? Check one.

CA Debtor 1 only

2) Debtor 2 only
(J Debtor 1 and Debtor 2 only
(C) At feast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

No
QO) Yes

Last 4 digits of account number aA _ Le

When was the debt incurred? cn Q | d /

As of the date you file, the claim is: Check all that apply.

onsen
Unliquidated
a Disputed

Type of NONPRIORITY unsecured claim:

Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Woe Specify fr 06d ad. eli vers

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

 

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GA é oO Ee £ OR
Middie Name

Debtor 1 AG ge S
“reve

First fia Last Name A

Case number (if known),

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; ES Your NONPRIORITY Unsecured Claims — Continuation Page

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Total claim

 

 

 

 

 

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Neat S CC ved it Car ds
Nonpriority Creditors Name

ao 0 Box 7 825 f
6 hoe ATX Az

City State

 

P50 43 @

ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

WY Debtor 2 only

(J Debtor 1 and Debtor 2 only

C2) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

tno
C2 Yes

Last 4 digits of account number sS 4 a. ef
2.0/8

As of the date you file, the claim is: Check all that apply.

Q Gontingent
Unliquidated

im) Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:

QQ student loans

(2 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

L] pebts to pension or profit-sharing plans, and other similar debts

Other. Specify Cred pa

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ie S eclat

Nonpriority Creditor's Name

Ai o4 —_Dull vitlook Qlud Sse. 12.4
Fueble Co 81008

City State ZIP Code

Who,incurred the debt? Check one.

OY’Sentor 1 only

C) Debtor 2 only
(2 Debtor 1 and Debtor 2 only
(Cd At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

No
Ci Yes

Last 4 digits of account number FT bh f fL-
2OMG

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

eeninaen
Unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(} Pebts to pension or profit-sharing plans, and other similar debts
Other. Specify. a & “f

9385,

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oe

 

US hh fan ke

“930 Creditors Name

600 Fr tates shurg R oad

 

 

Number Street
San Ratoni “Ti 7BARE
City ZIP Code

Who incurred the debt? Check one.
D

ebtor 1 only
C) Debtor 2 only
(} Debtor 1 and Debtor 2 only
(J At teast one of the debtors and another

C3 Check if this claim is for a community debt

Is the claim subject to offset?

No
Q) Yes

 

Last 4 digits of account number / 2 O ,

When was the debt incurred? y 25 fdas?

As of the date you file, the claim is: Check ail that apply.

im Contingent
Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

(J Student toans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ail to pension or profit- “sharing plans, and other similar debts
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Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor 4 AES Fet © AG

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FirstName Middle Name Last fa

 

Case number (if known)

 

ES Your NONPRIORITY Unsecured Claims — Continuation Page

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Nonpriority Creditor's Name

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BA g§

ZIP Code

2 Pronto

ay State

Who incurred the debt? Check one.

Debtor 1 only
CL) Debtor 2 only
(J Debtor 1 and Debtor 2 only
(C2 At least one of the debtors and another

(] Check if this claim is for a community debt
Is the claim subject to offset?

No
QQ Yes

Last 4 digits of account number f ce go.

When was the debt incurred? 2 / SA eet 2 an

As of the date you file, the claim is: Check all that apply.

Q Contingent
Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify CACC! Oe

 

 

 

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Nonpriority Creditor’s Name

a Ger “1005
worth GA

a
Who incurred the debt? Check one.

Debtor 1 only
(J Debtor 2 only
(} Debtor 1 and Debtor 2 only
Q) At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

No
I Yes

 

Last 4 digits of account number Y tp A. {
2007
As of the date you file, the claim is: Check ail that apply.
Q Contingent
Unliquidated
C] Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim: -

C) Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sharing plans, and other similar debts
Other, Specify a é é, f

 

 

Ge erabd

Nonpriority Creditors Name

4 as "eu Avenue.

“Riker pes Xt C A

City Send State

( pis

 

Who incurred the debt? Check one.

LI Debtor 1 only

C2 Debtor 2 only

U8 Debtor 1 and Debtor 2 only

(2 At feast one of the debtors and another

(2 Check if this claim is for a community debt

fs the claim subject to offset?

No
CU} Yes

/ | Last 4 digits of account number ___

 

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When was the debt incurred? i} s (20 ce

As of the date you file, the claim is: Check all that apply.

Oc ntingent
Ts Unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

Q) student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts {

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Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

 

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First Name oon Name e Last Name

Case number (if known)

ES Your NONPRIORITY Unsecured Claims — Continuation Page

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LOY
Nonpriority Creditor’s Name

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Duel Co

City State

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ZIP Code

Who incurred the debt? Check one.

ke Debtor 1 only

O Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

No
OQ Yes

. eo
Last 4 digits of account number lo 2. ffs

When was the debt incurred? Of G

As of the date you file, the claim is: Check all that apply.
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Untiquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

C] student loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C Debts to pension fit-sharing plans, and other similar debts
W other. Specify Trac Ly x = prey Lou Band lor ds

 

 

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lohynat Leace. ct

Nonpririty Creditor’s Name

150, <0 Sh. Suite j200

Manchester NH ©3104

City State ZIP Code

Ni

Who incurred the debt? Check one.

OC) debtor 1 only
C1 Debtor 2 only
Debtor 1 and Debtor 2 only
CI At least one of the debtors and another

CQ) Check if this claim is for a community debt

Is the claim subject to offset?

No
OQ) Yes

Last 4 digits of account number

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Ibo
i

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

Q contingent
Unliquidated
L] Disputed

Type of NONPRIORITY unsecured claim:

(student toans

OQ Obligations arising out of a separation agreernent or divorce that
you did not report as priority claims
C) Debts to pension or profit- haring plans, and other similar debts

(Bother. Specify Ade d ¢ ag rine. s

L220 +b |

 

 

 

 

7 4
Wray Nor Leace Lt

Nonpriority-Creditor’s Name

1750 lm St Sule (200
Number Street,
i

(Oanchecter Wi g3log

City State ZIP Code

i. incurred the debt? Check one.
D

ebtor 1 only
3 Debtor 2 only
C) Debtor 4 and Debtor 2 only
C1 At least one of the debtors and another

a Check if this claim is for a community debt

Is the claim subject to offset?

No
OQ) Yes

 

Last 4 digits of account number fF L £
AOlle

As of the date you file, the claim is: Check all that apply.

CQ) Contingent
Untiquidated
O Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:

(J Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
ebts to pension or profi it-sharing plans, and other similar debts

Other. Specify 44am £AC

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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First Name Middie Name Last Name

 

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Your NONPRIORITY Unsecured Claims — Continuation Page

 

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[7.50 Slim St. Suite 200
Number Street
Vienc| hecter 4 03 of

City State

Who incurred the debt? Check one.

WBebtor 1 only

C) Debtor 2 only

(J Debtor 4 and Debtor 2 only

C1 At ieast one of the debtors and another

CQ] Check if this claim is for a community debt

Is the claim subject to offset?

No
Q) Yes

Last 4 digits of account number

AOS

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

ent
Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

©) student foans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

eo to pension or rofit-sharing plans, and other similar debts
Other. Specify iFe

  

 

Total claim

   

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Official Form 106E/F

 

 

 

CO pebtor 4 only

Q) Debtor 2 only

Cd Debtor 4 and Debtor 2 only

C1 At ieast one of the debtors and another

CI Check if this claim is for a community debt

Is the claim subject to offset?

OQ) No
Q Yes

 

Type of NONPRIORITY unsecured claim:

O) student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UO Debts to pension or profit-sharing plans, and other similar debts

O other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

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L ‘5 2 oO ¢ So. /
Last 4 digits of account number Co / LO $
XCe| TNOAAY ‘ =a ———
Nonpacly Crediior's Name a When was the debt incurred? a 200
FO. Rox @477
b Street
Number 0 real S a Fe As of the date you file, the claim is: Check all that apply.
LS N S4 84-9477 |
City Stale ZIP Code ih Sontingent
Unliquidated
We the debt? Check one. CI) Disputed
Debtor 1 only
OQ Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only C1 student toans
: CY Atleast one of the debtors and another CI Obligations arising out of a separation agreement or divorce that
eae , you did not report as priority claims
: O) Check if this claim is for a community debt Cd Debts to pension or profit-shaying plans, and other similar debts
a subject to offset? EF other, Specify Qa? it
: No ,
: CQ Yes
| ee. ~ $
: Last 4 digits of account number ___ Le
Nonpriority Creditor’s Name Wh the debt i a?
en was the debt incurre
Numb Street
umber ree As of the date you file, the claim is: Check ail that apply.
Clty State ZIP Code CO Contingent
QO) uUnliquidated
Who incurred the debt? Check one. Q) disputed

paad Yo / 5
“oe C259095 18630- GRE DOE? 2 Figpipa

First Name as Name Zast Name

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ieee.

Case number (i known).

 

 

‘ Para Add the Amounts for Each Type of Unsecured Claim

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.
Total claim
Total claims 6a. Domestic support obligations 6a. $ LY
from Part 1 6b. Taxes and certain other debts you owe the O
government 6b. = {2°74 &
6c. Claims for death or personal injury while you were
intoxicated 6c. g Cy
6d, Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $ ee
6e. Total. Add lines 6a through 6d. Ge. Py ep
9 $ 5 fod a a
Total claim
Total claims 6f. Student loans 6f. $ oy
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority &-
claims 6g. $ =
6h. Debts to pension or profit-sharing plans, and other a
similar debts 6h. _g es
6i. Other. Add all other nonpriority unsecured claims. ef 2 -
Write that amount here. 6. +g Uf ? 500 : z bo
6j. Total. Add lines 6f through 6i. gj. uf an °F
44 500.2 lo
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page

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Debtor 1 g g fe sal $ fe ry een &.. Case number (if known)
First Name ‘Middle Name * Tast fn y

 

Es List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the. collection n agency here. Similarty, if fyou h have more than one e creditor for any of the debts that you listed i in Parts 1 or 2, list the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ba. ef ( Y yer, Cre Credit § i. Sey Tee Eee On which entry in Part 1 or Part 2 did you list the original creditor?
Name é ,
/ o Of ay ; fo we ae if . Line 4 ¢ of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured Claims
fe f we ye Last 4 digits of account number tf a a
— ge og j 4 a
Batiach CA 94S a?
oY ‘State ZIP Code
AF, f ya Ce vé. dit L é. C On which entry in Part 1 or Part 2 did you list the original creditor?
Name
é aa
)708 od. Cr at hanet <4 Line 4, b of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured
qe 2a Claims
ve fs 53 fox ;  * wy
CP pee fe fa & A ol Last 4 digits of account number Sf fv f. of
City State ZIP Code
a R CC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line, Y of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street (Part 2: Creditors with Nonpriority Unsecured
Po Box S760 Claims
° f a
Lack ik f8r7L Jlle F é S224 / Last 4 A digits o of account number a & “ a
a . __colate —_ AIP, Code.
Aron linew Asset Stra: fe Z t es On which entry in Part 1 or Part 2 did you list the original creditor?
Name

A200 Snel [ng ff ve UE

 

 

 

Number Street
Ste 256
Roseui the MN S3u3

City _State

 

AEN
[210 Medi wih

Number Street

|

Aah, King by,

 

 

Lind : bs of (Check one): O1 Part 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number oA 2 3 aan

 

On which entry in Part 1 or Part 2 did you list the original « creditor?
Line 5 iB of (Check one): UO Part 1: Creditors with Priority Unsecured Claims
ET Part 2: Creditors with Nonpriority Unsecured

Po Box a] Claims
BI Oona Ad ee | b Jt bz = 35! ) Last 4 digits of account number /_ a om f
ity ate ‘ode

 

Official Form 106E/F

C ental

L Credit Servces Lect

 

Name
ee & agency Spuctse Blvd
Number Street é

SU ile. Soo
Tac! kesonur lie

City State

CARTHY

Name

lumber Street
PoRoy V2!
Newlur re gh

 

rE S322 26

ZIP Code

 

NY ass OEH

City 4 State Zr C Code

Schedule E/F: Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?

Line(o Z of (Check one): UO Part 1: Creditors with Priority Unsecured Claims

va
wy Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number G h Oo 3

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Linelor5 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _/_ Lo f f.

page of
630- “D Filed;10/04/19  Entered:10/04/19 13:20:02 Pa e938 of 61
Debtor 1 caspnpag 1 “é. OC 7 PI PUSS 9

Ly pe Case number (if known)
First Name Middle Name Last Name 7 s

| Pare 3: | List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

 

 

2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

My ( a | b tie ‘pr? Ste ea L wtf ioe On which entry in Part 1 or Part 2 did you list the original creditor?
Te f i.
Name «
526 Soutnrr uck Blvd LineZ-/_ of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
"Su : ee 4 Pant 2: Creditors with Nonpriority Unsecured Claims
wire 206 auf /
fe ie CLO 2 / Last 4 digits of account number ©) & 4 (pa
o| ledo oO OTF A Sol 4
cuseatnieniim aeaneicen syne EE a AIP COMO a tenement yeni iuiiaianatiy nnn
Kpe. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line /. Zs of (Check one): QO Part 1: Creditors with Priority Unsecured Claims
en
Number Street _ © Part 2: Creditors with Nonpriority Unsecured
Po Box. ok 90) Claims
ii ae “yg, af jr ar & “ae “ = ie 2
Bele CST 2 ° b. chad 4 ae) Last 4 digits of account number OS med
City State ZIP Code
Raw i 1 Nushes Po, lay eu at law On which entry in Part 1 or Part 2 did you list the original creditor?
hel pot ’ —
2550 Q , Qrert rT fuer We, Line i b of (Check one): C Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured
Claims
Due bl lo CH mS lop "Last 4 digits of account number __ fk
a sos . vogeen AO RIP Code . onsen oe _ . soso
- @ ves tS PEWS, __f \<, On which entry in Part 1 or Part 2 did you list the original creditor?
Namé
2
5 Ga i “cle en af the Cyads Road Line) of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims
weds Street D - (Part 2: Creditors with Nonpriority Unsecured

aA {20 Claims

—

yt. co C) \ 0} 4
Ce lo = O wo Cf CUNES 7) 5090 é Last 4 digits of account number (2.5 @ Oo

 
   

 

 

 

 

 

 

 

 

 

 

 

 

    

 

   

City _Suate zip Code
“f!) A Ss sso OcLa. fe oe Af On which entry in Part 1 or Part 2 did you list the original creditor?
Name
LGD OL f) ey fPve , Line (, q of (Check one): LJ Part 1: Creditors with Priority Unsecured Claims
Number Street Part 2: Creditors with Nonpriority Unsecured
Claims
C here 4 Hi if WT OF 003 Last 4 digits of account number _O Go Y 7
_Lity . oe, ZIP Code — me
[DFS Ass ec pares On which entry in Part 1 or Part 2 did you list the original creditor?
Name
IV ZO OO) Ln Cu frve. , Line w/ of (Check one): Q Part 1: Creditors with Priority Unsecured Claims
Number Street _ Part 2: Creditors with Nonpriority Unsecured
Claims
C. h err i Hi: th NIT 08063 Last 4 digits of account number_© (p f T.
City __.. State ZIP Code . . 7 . necuveuuman _—
fo i’ ai On which entry in Part 1 or Part 2 did you list the original creditor?
. fr Ys
‘ 28) pe 1 port View Dy. S) Lad Line SZ of (Check one): O Part 4: Creditors with Priority Unsecured Claims

 

Number Street 7

Po Box T? 39 Claims
LOG vy 2 Ap
K oche es fen fin M = i? C= Last 4 digits of account number 26 OD

city State ZIP Code

(Part 2: Creditors with Nonpriority Unsecured

Official Form 106E/F ‘ Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
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Fill in this information to identify your case:

 

 

 

 

 

 

 

 

 

 

 

& ee ; -
Debtor Marie iF el i pe. {i \a. 4 une Zo
First Name ; © Middle Name é , Last Name

Debtor 2 Cunthia Ban Espind ola
, Middle Name Last Name

United States Bankruptcy Court for the: District of

Case number Pai

(If known) Q) Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C] Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more exampies of executory contracts and
unexpired leases. .

Person-or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

 

CHY cose wamsparrnpamurnnnngeyperet ate ZIP Code

 

 

 

 

 

 

 

 

: Name

: Number Street

: City coitus. tate ZIP Code
2.4

: ~~ Name

: Number Street

 

 

 

Name

 

i Number Street

 

i City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of |

 
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Fill in this information to identify your case:

ty

 

 

 

 

 

 

 

 

 

 

Pavan ’ m7 8 ay
Debtor 1 I \aQA td rer the VN TOAGG OCG

First Name + "Middle Name D Last Name

; D. a es oo enw a hy ob
Debtor 2 C DAD TAY LA Ran CSaiias ta,
(Spouse, if filing) First Name Middle Name ¥ Last Name
United States Bankruptcy Court for the: District of
Case number
fk . sos

(if known) CJ Check if this is an

amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. we, have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
No

L) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
uw No. Go to line 3.
L) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LC} No

UI Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivaient

 

Number Street

 

City State ZIP Code

 

; 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
i shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106H

Schedule H: Your Codebtors

Schedule E/F, or Schedule G to fi}! out Column 2.
Column.1: Your.codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.4
(J Schedule D, line
Name
QC) Schedule E/F, line
Number Street L) Schedule G, line
City State ZIP Code
3.2
() Schedule D, fine
Name
] Schedule E/F, line
Number Street C) Schedule G, line
CHY cess se _ State aZIP Code
3.3
C] Schedule D, line
Name
(J Schedule E/F, line
Number Street OC) Schedule G, line
City Ste ec wwevaaon nn nanan nat, COTE...

page 1 of fo

 
1 “ |

_ Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page56 of 61

Fill in this information to identify your case:

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

. . 3
Debtor 1 Levss feof, gee WVlave ie be &
First Name . Middle Name LastName . ;
i; Pena — LS PHY O-O la =
United States Bankruptcy Court for the: District of
Case number Check if this is:
(If known)
(J An amended filing
C1 A supplement showing postpetition chapter 13
income as of the following date:
Official Form 106] MM? DDI YYYY
Schedule I: Your Income 12/15

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for

supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Ea Describe Employment

 

4. Fill in your employment
: information, Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about additional Employment status C) Employed 1 Employed
employers. Not employed Not employed

Include part-time, seasonal, or

self-employed work. ly ‘ 1! ,
. . Occupation A d iS aly. | t + uf
Occupation may include student ~

or homemaker, if it applies.

Employer’s name

 

Employer’s address

 

Number Street Number = Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there? Fhe f LOA .

 

ee ve Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

{f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form,

For Debtor 1 For Debtor 2 or
non-filing spouse

2, List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2, $2057 } 3 $ AQ
3, Estimate and list monthly overtime pay. 3. +3 8 + § ®Q

 

 

 

 

4. Calculate gross income. Add line 2 + line 3. 4. $ s Q

 

 

Official Form 1061 Schedule |: Your Income page 1

 
cen EE pas wl ~ y

_ Case:19-18630-JGR Doc#:2 Filed:10/04/19

 

Entered:10/04/19 13:20:02 Page57 of 61

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13.Do you expect an increase or decrease within the year after you file this form?

No.

 

 

 

 

ie Feboe Marg
Debtor 4 Ma rie elk. pe fs (aN ued Case number (if known}
First Name Middie Namel Last Name pp
For Debtor 1 For Debtor 2 or
c Heve-d-t >4 e RY
COPY TITS 4 MOTO. oe ceeess seco nesantocsrscactentencecotavseseretestetetseresctessestieresttanestessesesees a? 4, dD —
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a, §$ © $_ &
5b. Mandatory contributions for retirement plans 5b. §$ “- $ &
5c. Voluntary contributions for retirement plans 5c. $ ® $ Os
5d. Required repayments of retirement fund loans 5d. § XQ $ ©
5e. Insurance Be. = § % $ eB
5f. Domestic support obligations of. $ % $ &
5g. Union dues 5g. $ & $ 8
: * © gy
5h. Other deductions. Specify: 5h, +$ a + $ ‘sh
_ 6. Add the payroll deductions. Add lines 5a + 5b +5c+5d+5e+5f+5g+5h. 6 ¢ $ &
' 7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $30 $4,B $ 6
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ nD $ ®
monthly net income. 8a.
8b. Interest and dividends 8. ¢ $ &
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive 4
Include alimony, spousal support, child support, maintenance, divorce $ & $ 9)
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. §. gv $ &
8e. Social Security 8e. § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance :
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies, .
Specify: 4 ool Stones Ss Bf = §. & $ | G2 00
\
8g. Pension or retirement income 8g. §$ $ ©
8h. Other monthly income. Specify: 8h. +3 +¢
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. $ g $
10. Calculate monthly income. Add line 7 + line 9. ), 13 2a
: Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. g30S7, 13 + $ | {a 8 s34 Y7. 13
11, State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J,

Specify: Wt go
'12, Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 22 49, L
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. a A

Combined

monthly income

 

C) Yes. Explain:

 

 

 

Official Form 1061

Schedule |: Your income

page 2
  

of

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Fill in this information to identify your case:
‘y

Debtor 1 f'laAfa Fol » fe.

 

 

  
  

Check if this is:

 

 

 

 

First Name Middle Name
Debtor? C Ane =
saececsaeh —_——— ent AD omended filing

 

 

 

 

United States Bankruptcy Court for the: District of

Case number
(If known)

 

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

LIA supplement showing posipetition chapter 13
expenses as of the following date:

MM / DD/ YYYY |

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

oe Describe Your Household

1. Is this a joint case?

«

LLNo. Go to line 2.
Yes. Does Debtor 2 live in a separate household?

(4 No

 

 

 

 

 

 

 

 

 

2, Do you have dependents? MH No
: Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor 7 and C) Yes. Fill out this information for Debtor 4 or Debtor 2 age with you?
Debtor 2. each dependent... ceceeccceree Q
Do not state the dependents’ gO No
names. Yes
QL) No
UJ Yes
LC) No
C) Yes
C) No
CI Yes
OC) No
O) Yes
3. Do your expenses include uf No

expenses of people other than
_yourself and your dependents? “I Yes

are Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4, The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot.

If not included in line 4:

4a, Real estate taxes

4b. Property, homeowner's, or renter's insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Official Form 106J

Schedule J: Your Expenses

Your expenses

, &_1000,00

 

 

~

4a. $

4b, § q, 5S 6
4c. $

4d § o

page 1

 
Debtor 4 an Qo Fel pe

First Name Middle Name

Case:19-18630-JGR Doc#:2 Filed:10/04/19

 

 

{\eve pow.

Case number (if known)

Entered:10/04/19 13:20:02 Page59 of 61

 

 

Your expenses

 

 

 

410,
41.

12.

13.
14.

15.

16.

17.

18.

19.

20.

. Utilities:
6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

. Additional mortgage payments for your residence, such as home equity loans

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify: a2 oan ke \ im a

. Food and housekeeping supplies

. Childcare and children’s education costs
. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

5 ps ac

Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
45b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: | R S

Installment or lease payments:

17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c, Other. Specify: Wash WA 4 fy eA Rents i}

17d. Other, Specify:

 

 

6a.

8c.
6d.

18a.
1b.
1c.
18d.

16.

17a.
47b.
i7c.

17d,

Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Official Form 106)).

Other payments you make to support others who do not live with you.

Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J

Schedule J: Your Expenses

20a.
20b.
20c.
20d,
20e.

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$ 50,00 Vv

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fF Ff fF fF
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page 2

 
 

Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page60 of 61

 

 

‘ . ret
Debtor 1 (Mar 1 f el pe (is SON GLE. Be Case number (i known)
First Name Middie Name® Cast Name £¥

 

1 43 V4

a

 

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. § a 9 le Gt

22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ on

22c. Add line 22a and 22b, The result is your monthly expenses, 226. $ 2. ”? Q 9, g i

 

 

 

23, Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a, $ “7 of 3

23b. Copy your monthly expenses from line 22c above. 23. ¢ of 227, yf

 

23c. Subtract your monthly expenses from your monthly income. -
yo y expenses from y y 5 SAA
The result is your monthly net income. 23c.

 

 

 

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

Yes. | Explainhere: Qehicle 1 Should be paid Ohi oe 72 men ths

 

Official Form 106J Schedule J: Your Expenses page 3

 
 

 

Case:19-18630-JGR Doc#:2 Filed:10/04/19 Entered:10/04/19 13:20:02 Page61 of 61

 
 

Fill in this information to identify your case:

   

  

 

AF} fy
Debtor1  /' /anya bel pe.
Firdt Name An Name

Debtor 2 (! tf t\ ty ‘A TLAN

(Spouse, if filing) First Nafne Middle. Name

AA
[Ag ued

 LasiNami

Espcola

 

Last Name.

 

 

Case number

~ United States Bankruptcy Court for the: District of

 

(If known)

 

 

 

Official Form 106Dec

 

Declaration About an Individual Debtor’s Schedules

If two married people are filing together, both are equally responsible for supplying correct information.

LD Check if this is an
amended filing

12/15

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

WH No

C} Yes. Name of person

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

Official Form 106Dec

Signature (Official Form 119).

Signature of Debtor 2

owe 0 /02/20/9

MM/ DD / YYYY

Declaration About an Individual Debtor’s Schedules

    

 
